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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CROWN CASTLE FIBER LLC,                          §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §       CIVIL ACTION NO: ______________
                                                 §
CITY OF PASADENA,                                §
                                                 §
       Defendant.                                §

      ORIGINAL COMPLAINT AND APPLICATION FOR INJUNCTIVE RELIEF

       Crown Castle Fiber LLC files this Original Complaint against the City of Pasadena (the

“City,” or “Pasadena”), seeking declaratory and injunctive relief, and in support thereof,

respectfully shows as follows:

                                           PARTIES

       1.      Plaintiff Crown Castle Fiber LLC (f/k/a Crown Castle NG Central LLC) (“Crown

Castle”) is a New York limited liability company having its principal place of business at 1220

Augusta Drive, Suite 600, Houston, Texas 77057.

       2.      Defendant City of Pasadena is a home-rule municipality situated in Harris

County, Texas.

                                 JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action under Section 1331 of Title 28 of the

United States Code because this is a civil action arising under Chapter 5 of Title 47 of the United

States Code. This Court has authority to provide declaratory relief. 28 U.S.C. § 2201(a). This

Court also has supplemental jurisdiction over Crown Castle’s Texas law claims because the



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claims are so related to Crown Castle’s claims under federal law that they form part of the same

case or controversy under Article III of the United States Constitution. 28 U.S.C. § 1367.

       4.      Venue is proper in this district because a substantial part of the events giving rise

to the claims occurred in this district. 28 U.S.C. § 1391(b).

                                     NATURE OF ACTION

       5.      Crown Castle provides next-generation telecommunications services through

Distributed Antenna Systems (“DASs”).          These systems are a critical component in the

development of what are commonly known as 5G networks, and they convert signals between

radio frequency (i.e., wireless) format and optical format and transmit them along fiber-optic

cables (“fiber”). They are much smaller in size than traditional cell towers and are placed more

densely in a network area to improve coverage, facilitate the 5G connection to consumers’

devices, and provide greater bandwidth for consumers’ devices to connect to a provider’s

network. This case concerns Crown Castle’s right to place its network and facilities in the public

rights of way in the City of Pasadena.

       6.      The deployment of competitive telecommunications services and advanced

technologies is in the public interest, and Congress and the Texas Legislature have adopted

statutes granting telecommunications providers such as Crown Castle the right to deploy network

nodes and limiting the authority of local governments to frustrate such deployment. Similarly,

the FCC—in its role as an independent agency responsible for implementing federal

communications laws and regulations—has taken steps to accomplish Congress’s intent in

adopting such laws. Federal and Texas law specifically provide Crown Castle and similar

providers with rights to deploy DASs, which lawmakers recognize are necessary to provide next-

generation services to consumers.

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       7.      Under federal law, Section 253 of Title 47 of the United States Code prevents

local entities from erecting legal barriers that prohibit or may have the effect of prohibiting the

ability of an entity to provide telecommunications services.

       8.      Under state law, Chapter 284 of the Local Government Code provides network

providers, among other rights, the right to construct network nodes and node support poles in a

public right of way to provide telecommunications service. Loc. Gov’t Code §284.101. Crown

Castle is such a network provider.

       9.      Nonetheless, the City—under the guise of a design manual—implemented a

restriction that requires network nodes and supporting poles in a public right of way to be located

at least 300 feet away from all existing utility or other node support poles in the public right of

way. Like most densely populated areas across the country, Pasadena’s rights of way are

occupied by many utility poles providing electric, telephone, cable and telecommunications

services to residents and businesses. Because of the number of utility poles currently occupying

Pasadena’s rights of way, there are very few locations that are actually available 300 feet away

from each of these existing poles that are suitable for Crown Castle to install its network nodes

and node support poles.

       10.     The City’s spacing restriction is so onerous that it effectively prohibits Crown

Castle from deploying a DAS network in the City because the spacing requirement eliminates the

necessary node locations. The spacing restriction materially inhibits the deployment of the

network and thereby effectively prohibits Crown Castle from providing telecommunications

services in violation of federal law and Chapter 284 of the Texas Local Government Code. The

spacing restriction is, therefore, preempted and unenforceable. This suit seeks declaratory and

injunctive relief to remedy these violations of state and federal law.

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                                             FACTS

       Nature of Crown Castle’s Business

       11.     Crown Castle owns various telecommunications network facilities, and its service

consists of providing transport of Crown Castle’s customers’ signals (both voice and data)

between points designated by the customer. This type of transportation service is referred to as

“switched access service.”

       12.     One of Crown Castle’s typical customers is a provider of retail wireless

telecommunications services, also known as a commercial mobile radio services provider,

cellular provider, or personal communications services provider (collectively hereafter “wireless

services provider”). Through these providers, Crown Castle provides services to the general

public on a wholesale level. Because numerous wireless carriers serve the areas in which Crown

Castle develops DAS networks, the network is designed so that multiple carriers can use it. This

spreads the benefits of Crown Castle’s DAS networks as much as possible through the

community and to its consumers.

       13.     Crown Castle provides its wireless services through network “nodes” and fiber.

The fiber allows Crown Castle to transport its customers’ signals to the point designated by the

customer.    The fiber ends at a network node, where equipment translates the customer’s

communications signal between the optical format and the customer’s format.

       14.     The typical node in Crown Castle’s network involves fiber, equipment to send

and receive optical signals, electronics to convert optical signals to radio frequency signals (and

vice versa), and other associated equipment, such as a small antenna and power supply. In some

cases, all the equipment is mounted on a node support pole, and in other cases, the pole may not

be able to bear the weight of all the equipment, requiring some of the equipment to be located in

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a cabinet on the ground next to the pole. The latter of these arrangements are referred to as

network nodes with “ground furniture.”

       15.     After a radio frequency signal arrives at a node, the signal is translated into an

optical format and transported through Crown Castle’s fiber network to a distant point that is

typically (but not always) an aggregation point called a “Hub.” The Hub is a central location that

contains such equipment as routers, switches, and signal conversion equipment. The Hub is

typically installed in a building located on private property. At the Hub, Crown Castle transmits

the communication signal to its customer.

       16.     This combination of nodes, fiber, equipment, and the Hub is generally referred to

collectively as a DAS network. While a DAS network contains substantial equipment, most of

the equipment installation is not at issue here because it will either be buried or not installed in

the public right of way. Rather, this case involves only the portion of the DAS network that is

the network node attached to the pole and installed in the public right-of-way, as seen below.


 Network node
 with new node
 support pole in
 Pasadena,
 Texas. This is
 one of four
 nodes that was
 approved by the
 City in 2019
 and installed in
 its planned
 location.




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The development of DAS networks and installation of network nodes, such as the example

above, are critical for the roll-out of what is commonly referred to as 5G wireless. 5G wireless is

transformational technology because it provides increased bandwidth, allows more devices to be

connected to the network at the same time, and is exceptionally fast compared to existing 4G

technology. While 5G is exceptionally fast, it transmits data over shorter distances than 4G

technology. Accordingly, wireless service providers must use DAS networks with smaller

network nodes deployed at more locations, shrinking the distance between consumers’ devices

and the network. For that reason, DAS network nodes are sometimes referred to as “small cells.”

       17.      Small cells are designed to off-load capacity from cell towers. The location of

these nodes is critical because they are spaced in such a way that the hand-off of the signal from

node to node happens smoothly, without the user experiencing a dropped call or lapse in data.

Coverage between each node can vary, but it is typically limited to 700 feet. Each node is

strategically placed to meet specific service and coverage objectives. As seen below, a few

strategically placed small cells in a given cell tower’s range dramatically enhances a customer’s

wireless experience and enables the use of 5G wireless in the area.




             Traditional 4G tower coverage and capacity enhanced by seven small cells.

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       18.     In order to construct DAS networks, however, Crown Castle must have access to

the public rights of way in which to place its network nodes and related equipment.

       Federal and State law providing Crown Castle access to the public rights of way

       19.     Federal law has long governed and encouraged the expansion of wireless

communications. Such encouragement is found in a statute key to this lawsuit: Section 253 of

the Telecommunications Act of 1996 (the “Act”). Titled, “Removal of Barriers to Entry,”

Section 253 reflects Congress’s intent to encourage the expansion of telecommunication

services. 47 U.S.C. § 253. Section 253(a) provides that “[n]o state or local statute or regulation .

. . may prohibit or have the effect of prohibiting . . . telecommunications service.” Id.

       20.     Although Congress passed the Act in the dawn of the cellular era, the FCC—

charged with interpreting and enforcing the Act—has decided several cases and issued several

key orders incrementally developing the application of the Act to small cell network nodes. It is

black letter law that a local statute or ordinance is preempted not just when it expressly prohibits

services, but also when it effectively prohibits services by “materially inhibit[ing]” the provision

of services. California Payphone Association, 122 FCC Rcd. 14191, 14210 (1997). In 2018, the

FCC issued an order commonly referred to as the Small Cell Order. Accelerating Wireless

Broadband Deployment by Removing Barriers to Infrastructure Inv., 33 FCC Rcd. 9088 (2018)

(hereafter “Small Cell Order”). The Small Cell Order interprets the Act and its application to the

installation of network nodes, and it spells out the limits on local governments’ authority to

regulate wireless providers’ installations.

       21.     The Act’s limitation relevant to this case is its preemption of the City’s local

minimum spacing requirement. Generally, a minimum spacing requirement is a local ordinance

that requires infrastructure to be installed a minimum distance away from other infrastructure

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deployments. E.g., Small Cell Order, ¶ 87. But a locality cannot use an unreasonable minimum

spacing requirement to materially inhibit the provision of telecommunications services. Rather,

the FCC noted that “a minimum spacing requirement that has the effect of materially inhibiting

wireless services would be considered an effective prohibition of service,” and therefore, a

violation of Section 253 of the Act. Id.

       22.       Texas, too, has recently passed legislation to bring its telecommunications laws

into the twenty-first century. Effective September 1, 2017, Texas enacted Chapter 284 of the

Local Government Code, governing the deployment of network nodes in the public rights of

way. The Texas legislature found that “network nodes are instrumental to increasing access to

advanced technology and information for the citizens of this state and thereby further an

important public policy of having reliable wireless networks and services.” Tex. Loc. Gov’t

Code § 284.001(a)(1). The legislature further determined that “it is reasonable and necessary to

allow access to the public right-of-way for the purposes of deploying network nodes.” Id. at §

284.001(a)(10). It follows that “expeditious processes and reasonable and non-discriminatory

terms, conditions, and compensation for use of the public right-of-way for network node

deployments are essential to state-of-the-art wireless services.” Id. at § 284.001(a)(5). Thus,

Chapter 284 places additional reasonable requirements and limitations on Texas localities

seeking to regulate the installation of network nodes.

       23.       Chapter 284 expressly provides that a network provider, such as Crown Castle, is

authorized to “construct, modify, maintain, operate, relocate, and remove a network node or node

support pole.”     Id. at § 284.101. Chapter 284 also contains two key limitations on Texas

municipalities: (1) “except as provided by this Chapter [284], a municipality may not prohibit,

regulate, or charge for the installation or collocation of network nodes in a public right-of-way;”

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(Id. at § 284.151(a)); and (2) [a] municipality in the exercise of its “administrative and regulatory

authority related to the management of and access to the public right-of-way, must be

competitively neutral with regard to other users of the public right-of-way.” Id. at § 284.110.

Simply put, the City cannot prohibit Crown Castle from deploying network nodes in the public

right of way, nor can it regulate such instances except as provided for in Chapter 284. And in

attempting to enforce any regulatory requirements on the installation of network nodes, a

municipality cannot discriminate against a network provider installing a network node as

compared to any other user that has access to the public right of way, including but not limited to

utility, cable, and traditional telephone service providers.

        24.     As described below, however, the City of Pasadena has violated both federal and

Texas law. First, the spacing requirement adopted by the City materially inhibits the deployment

of Crown Castle’s DAS network, and therefore, constitutes an effective prohibition under

47 U.S.C. § 253. Second, the spacing requirement adopted by the City is inconsistent with the

regulatory requirements of Chapter 284 and discriminatory compared to requirements for other

users of the right of way. The City’s spacing requirement, therefore, violates Chapter 284 for

both reasons.

        Crown Castle’s Proposed DAS Network in the City of Pasadena

        25.     Crown Castle operates approximately 80,000 miles of fiber and has

approximately 70,000 nodes installed or under contract across the country.             Since being

approved to provide telecommunications services in Texas in 2005, Crown Castle has

constructed DAS networks across Texas. These networks collectively include approximately

2,000 nodes installed in 28 cities and include deployments in city, county, and state rights of

way.

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        26.      In late 2017—following the effective date of the Texas Small Cell Bill—Crown

Castle sought to install a DAS network in the City of Pasadena. The proposed DAS network

included 100 nodes to be placed in public rights of way, which would provide wireless services.

        27.      In the same period, the City Council adopted a small cell ordinance and a Design

Manual for the Installation of Network Nodes and Node Support Poles (“Design Manual”).

Among other provisions, the Design Manual contains a spacing requirement that is the focus of

this Complaint. New support poles for Network Nodes must be spaced at least 300 feet away

from existing utility poles or Node Support poles. 1 Design Manual, §§ 4(D)(1) & 5(B).

        28.      However, the City had not finalized the requisites for a complete permit

application. Therefore, beginning in 2018 and continuing until mid-2019, Crown Castle had

extensive discussions with the City’s Director and Assistant Director of Public Works, Robin

Green and Zafar Iqbal, regarding applications for the proposed DAS network. Finally, in mid-

2019, the City settled on application requirements. Of the 100 nodes, the City determined 67

were in commercial areas where Crown Castle could proceed and requested that Crown Castle

submit the 67 applications in three batches.

        29.      In June 2019, Crown Castle submitted the first batch of 22 applications, all of

which were Network Nodes on new Node Support Poles. The City approved only four of them

and denied 16 on the basis that the site locations violated the Design Manual’s 300-foot spacing

requirement. 2




1
  Network Node and Node Support Pole are defined terms in the Design Manual and encompass Crown Castle’s
equipment for its proposed DAS network in the City.
2
  The other locations were denied based on other City restrictions. Crown Castle is not challenging those other
restrictions today.

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        30.    Following the City’s denial of 16 out of 22 applications because the proposed

network node locations violated the 300-foot spacing requirement, Crown Castle internally

reviewed the remaining 45 proposed locations. After its internal review, Crown Castle found

that all 45 proposed locations to be submitted would violate the Design Manual’s 300-foot

spacing requirement. As a direct result of the City’s 300-foot spacing requirements, Crown

Castle cannot construct a DAS network in the City because it cannot construct the necessary

nodes without violating the Design Manual. The specific location and spacing of nodes are

critical to the design of a DAS network.

        31.    There is a current and on-going dispute between the City and Crown Castle

regarding Crown Castle’s legal rights under Section 253 of the Act and Chapter 284 of the Local

Government Code. The City’s regulations are materially inhibiting Crown Castle from providing

telecommunications services under federal law. And the City is prohibiting Crown Castle from

installing network nodes in the public right of way in violation of Texas law. Finally, because

the 300-foot spacing requirement in the Design Manual is only applicable to the installation of

new Network Nodes, the City is discriminating against network providers in violation of Texas

law.

                                            COUNT I

                                  (Violation of 47 U.S.C. § 253)

        32.    Crown Castle incorporates the foregoing paragraphs as if set forth fully herein.

        33.    Section 253(a) of Title 47 of the United States Code provides, “[n]o state or local

statute or regulation, or other State or local legal requirement, may prohibit or have the effect of

prohibiting the ability of any entity to provide any interstate or intrastate telecommunications

service.”

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       34.     Crown Castle and its customers seek to provide interstate and intrastate

telecommunications services in the City of Pasadena.

       35.     The Pasadena City Council adopted a Design Manual that requires that new Node

Support Poles must be at least 300 feet away from existing utility poles or Node Support poles.

Design Manual, §§ 4(D)(1) & 5(B). This requirement precludes the installation of 61 of the 67

commercial Network Node locations in Crown Castle’s proposed DAS Network in the City.

Accordingly, the 300-foot spacing requirement is unreasonable and materially inhibits Crown

Castle from providing telecommunications services and has the effect of prohibiting Crown

Castle’s ability to provide telecommunications services.

       Declaratory Relief

       36.     An actual controversy exists between Crown Castle and the City regarding Crown

Castle’s right to construct network nodes in the public rights of way.

       37.     Crown Castle seeks a declaration that the City may not require that Crown

Castle’s network nodes in the public rights of way be located more than 300 feet away from an

existing utility or node support pole because such a requirement has the effect of prohibiting

Crown Castle from providing telecommunications services. Although the City may regulate the

use of the public rights of way and may require fair and reasonable compensation, a requirement

that materially inhibits Crown Castle from providing telecommunications services constitutes an

effective prohibition of Crown Castle from providing telecommunications services and is

preempted by federal law. 47 U.S.C. § 253(a).

       38.     This Court has the authority to issue such a declaration. 28 U.S.C. § 2201.




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       Injunctive Relief

       39.      The City’s 300-foot spacing requirement violates Section 253(a) of Title 47

because the requirement materially inhibits Crown Castle from providing telecommunications

services and has the effect of prohibiting Crown Castle’s ability to provide telecommunications

services.

       40.      If Crown Castle is effectively prohibited from providing telecommunications

services, it will suffer irreparable injury. Crown Castle will be continuously deprived of its

statutory rights to provide telecommunications services. The loss of Crown Castle’s federal

statutory rights cannot be compensated by any monetary standard. Indeed, the Fifth Circuit has

long held that telecommunications providers such as Crown Castle do not have a monetary

remedy; Crown Castle’s only relief is injunctive relief to enforce preemption of the City’s 300-

foot spacing requirement by the Act through declaratory and injunctive relief.

       41.      This threatened injury to Crown Castle outweighs any damage that an injunction

might cause to the City. Indeed, an injunction requiring the City to comply with its obligations

under federal law would not damage the City.

       42.      An injunction requiring the City to comply with federal law will not disserve the

public interest. On the contrary, the public will benefit from the Court’s enforcement of the

balance struck by Congress in the Act and the telecommunications services to be provided by

Crown Castle.

       43.      Accordingly, Crown Castle seeks an injunction prohibiting the City of Pasadena

from enforcing Sections 4(D)(1) & 5(B) of the Design Manual.




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                                             COUNT II

                       (Violation of Texas Local Government Code Chapter 284)

        44.      Crown Castle incorporates the foregoing paragraphs as if set forth fully herein.

        45.      Section 284.001(a) of the Local Government Code provides:

        The legislature finds that (a):

(1)     Network nodes are instrumental to increasing access to advanced technology and
        information for the citizens of this state and thereby further an important public policy of
        having reliable wireless networks and services. . . .

(5)     Expeditious processes and reasonable and non-discriminatory terms, conditions, and
        compensation for use of the public right-of-way for network node deployments are
        essential to state-of-the-art wireless services. . . .

(10)    It is reasonable and necessary to allow access to the public right-of-way for the purposes
        of deploying network nodes.

TEX. LOCAL GOV’T CODE § 284.001(a). In addition:

        In order to safeguard the health, safety, and welfare of the public, it is the policy
        of this state to promote the adoption of and encourage competition in the
        provision of wireless services by reducing the barriers to entry for providers of
        services so that the number and types of services offered by providers continue to
        increase through competition.

TEX. LOCAL GOV’T CODE § 284.001(b).

        46.      Chapter 284 expressly provides that a network provider, such as Crown Castle, is

authorized to “construct, modify, maintain, operate, relocate, and remove a network node or node

support pole.”     Id. at § 284.101. Chapter 284 also contains two key limitations on Texas

municipalities: (1) “except as provided by this Chapter [284], a municipality may not prohibit,

regulate, or charge for the installation or collocation of network nodes in a public right-of-way;”

(Id. at § 284.151(a)); and (2) A municipality in the exercise of its “administrative and regulatory




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authority related to the management of and access to the public right-of-way, must be

competitively neutral with regard to other users of the public right of way.” Id. at § 284.110.

       47.      Under the statute, a “network provider” means “a wireless service provider” or “a

person that…builds or installs on behalf of a wireless service provider.” Tex. Loc. Gov’t Code

284.002(13). Crown Castle builds and installs telecommunications infrastructure on behalf of its

wireless service provider customers. Crown Castle’s customers are wireless service providers

because they provide “service, using licensed or unlicensed wireless spectrum, including the use

of Wi-Fi, whether at a fixed location or mobile…to the public using a network node.” Id. at

284.002(24) & (25). Pursuant to these definitions, Crown Castle is a Network Provider under

Chapter 284.

       48.      Accordingly, Crown Castle may “construct, modify, maintain, operate, relocate,

and remove a network node or node support pole.” TEX. LOCAL GOV’T CODE § 284.101(a).

       49.      The City’s refusal to allow Crown Castle to deploy 61 of 67 Network Nodes of its

DAS network in the public rights of way of the City on the basis of the City’s 300-foot spacing

requirement for new Node Support Poles violates Chapter 284 of the Local Government Code.

       Declaratory Relief

       50.      An actual controversy exists between Crown Castle and the City regarding Crown

Castle’s right to deploy its DAS network and construct new Node Support Poles in the public

right of way.    No further factual development is necessary, and the parties’ legal dispute

regarding the discriminatory nature of the 300-foot spacing requirement for new network node

support poles is ripe for adjudication.

       51.      Crown Castle seeks a declaration that the City may not prevent Crown Castle

from constructing new network support poles as part of Crown’s provision of wireless services

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on the City’s requirement that those network support poles must be at least 300 feet away from

existing utility poles or Node Support poles, as specified in Sections 4(D)(1) & 5(B) of the

Design Manual.

          52.    This Court has the authority to issue such a declaration. 28 U.S.C. § 2201.

          Injunctive Relief

          53.    The City’s 300-foot spacing requirement in Section 4(D)(1) & 5(B) of the Design

Manual violates Chapter 284 of the Local Government Code, as described above.

          54.    If Crown Castle is not permitted to construct its Network Nodes in the public

rights of way, it will be unable to provide telecommunications service and will suffer irreparable

injury.

          55.    This threatened injury to Crown Castle outweighs any damage that an injunction

might cause to the City. Indeed, an injunction requiring the City to comply with its obligations

under state law would not damage the City.

          56.    An injunction requiring the City to comply with state law will not disserve the

public interest. On the contrary, the public will benefit from the Court’s enforcement of the

policy announced by the legislature and the wireless services provided by Crown Castle.

          57.    Accordingly, Crown Castle seeks an injunction for this additional reason,

prohibiting the City of Pasadena from enforcing Section 4(D)(1) & 5(B) of the Design Manual.

                                             PRAYER

          The City’s refusal to allow Crown Castle to install the proposed Network Nodes in

Crown Castle’s proposed DAS network in the public rights of way based on Section 4(D)(1) &

5(B) of the Design Manual violates both state and federal law. Accordingly, for the foregoing

reasons, Crown Castle seeks (1) a declaration that Sections 4(D)(1) & 5(B) of the Design Manual

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are unenforceable, and (2) an injunction forbidding the City of Pasadena from enforcing Sections

4(D)(1) & 5(B) of the Design Manual.

       Crown Castle respectfully requests all such other relief, in law or in equity, to which it

may show itself to be entitled.



September 30, 2020                          Respectfully submitted,

                                            BECK REDDEN LLP


                                            By:     /s/ Jeff M. Golub__________________
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